       Case 1:20-cv-09153-PGG-JW Document 91 Filed 07/20/22 Page 1 of 2
                         Debevoise & Plimpton LLP
                         919 Third Avenue
                         New York, NY 10022
                         +1 212 909 6000


VIA ECF AND EMAIL                                                             July 20, 2022

Hon. Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

               Re: Bilalov v. Gref et al., 1:20-cv-09153-AT-JW (S.D.N.Y.)

Dear Judge Torres:

         We write on behalf of Defendants Sberbank of Russia (“Sberbank”) and Herman Gref
(together, the “Russian Defendants”) and Sberbank CIB USA, Inc. (together with the Russian
Defendants, the “Defendants”), to request an extension to oppose Plaintiff’s request for leave to
file a third amended complaint (ECF No. 90) (the “Request”). Plaintiff filed his Request on July
14, 2022. Under Your Honor’s Individual Practice Rule II.A.ii, a response is due within five
business days, or July 21, 2022.

        Plaintiff’s Request is inappropriate and deeply prejudicial to Defendants. Plaintiff has
had ample opportunity to present his claims to the Court, through three iterations of his
complaint. Plaintiff provides no basis why adding a new defendant to the case is appropriate
now, and indeed, Plaintiff’s request concedes that the proposed Third Amended Complaint
adding the Russian Federation as a defendant would be supported by no new factual allegations.
See ECF No. 90 at 2 (“Plaintiffs are not alleging any new facts or theories.”). And Defendants
would be prejudiced if required to defend against still another iteration of Plaintiff’s meritless
claims, which deficiencies have been fully and extensively briefed to the Court for several
months. See ECF Nos. 68 & 69 (Nov. 2, 2021 reply briefs in support of motions to dismiss); 80
(Feb. 2, 2022 reply brief in support of Russian Defendants’ motion to dismiss for lack of subject-
matter jurisdiction).

        Counsel for all Defendants have indicated their intention to withdraw from their
representation in this Action. See ECF Nos. 86 & 87. Counsel have been authorized to inform
the Court that Defendants’ search for substitute counsel is complete, and they anticipate the
engagement to be finalized in the coming weeks. Defendants therefore respectfully request the
Court, if not inclined to deny leave on the basis of Plaintiff’s Request alone, grant Defendants an
extension until August 12, 2022 for new counsel to appear and respond to the Request. No
previous requests for adjournment or extension of this deadline have been made.

       Mr. Taft, on behalf of all Defendants’ counsel, conferred with Plaintiff’s counsel by
phone on July 20, 2022. Plaintiff consents to an extension, but only through August 1, 2022.
       Case 1:20-cv-09153-PGG-JW Document 91 Filed 07/20/22 Page 2 of 2
Hon. Analisa Torres                                                                  2


                                      Respectfully submitted,

                                      DEBEVOISE & PLIMPTON LLP

                                      By: /s/ William H. Taft V               .
                                         Mark P. Goodman
                                         William H. Taft V
                                         mpgoodman@debevoise.com
                                         whtaft@debevoise.com

                                         919 Third Avenue
                                         New York, New York 10022
                                         (212) 909-6000

                                         Counsel for Sberbank of Russia and Herman
                                         Gref

                                      WHITE & CASE LLP

                                         Claire DeLelle
                                         Kim Havlin
                                         Scott Hershman
                                         Isaac Glassman
                                         claire.delelle@whitecase.com
                                         kim.havlin@whitecase.com
                                         scott.hershman@whitecase.com
                                         isaac.glassman@whitecase.com

                                         701 Thirteenth Street, NW
                                         Washington, DC 20005
                                          (202) 626-3600

                                         1221 Avenue of the Americas
                                         New York, New York 10020
                                         (212) 819-8200

                                         Counsel for Sberbank CIB USA, Inc.


cc: All counsel of record (via ECF)
